       Case 2:09-cv-00387-CBM-PJW Document 15 Filed 06/24/09 Page 1 of 1 Page ID #:64




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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

Juicy Couture, Inc. et al,                                      CASE NUMBER

                                                                                      2:09-cv-00387-CBM
                                               PLAINTIFF(S)
                             v.
 Il Oh et al,
                                                                              DEFAULT BY CLERK
                                                                                F.R.Civ.P. 55(a)
                                            DEFENDANT(S).


       It appearing from the records in the above-entitled action that summons has been served upon the
defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

       Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
hereby entered:

           Il Keun Oh aka James Ken Oh, Joon Yeop Kim,

          Elegance Fashion Mart, Inc., and Jacqueline Oh




                                                           Clerk, U. S. District Court



6/24/09                                                    By Lori Muraoka
Date                                                         Deputy Clerk

CV-37 (10/01)                            DEFAULT BY CLERK F.R.Civ.P. 55(a)
